FILED: NEW YORK COUNTY CLERK 11/08/2019 09:29 AM                            INDEX NO. 160694/2019
                Case 1:20-cv-07311-LAK Document 14-10 Filed 09/15/20 RECEIVED
NYSCEF DOC. NO. 10                                                   Page 1 of NYSCEF:
                                                                               3       11/08/2019




                            EXHIBIT D
FILED: NEW YORK COUNTY CLERK 11/08/2019 09:29 AM                            INDEX NO. 160694/2019
                Case 1:20-cv-07311-LAK Document 14-10 Filed 09/15/20 RECEIVED
NYSCEF DOC. NO. 10                                                   Page 2 of NYSCEF:
                                                                               3       11/08/2019
FILED: NEW YORK COUNTY CLERK 11/08/2019 09:29 AM                            INDEX NO. 160694/2019
                Case 1:20-cv-07311-LAK Document 14-10 Filed 09/15/20 RECEIVED
NYSCEF DOC. NO. 10                                                   Page 3 of NYSCEF:
                                                                               3       11/08/2019
